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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

 TAMARIN LINDENBERG, Individually               )
 and as Natural Guardian of her minor child     )
 S.M.L., and ZACHARY THOMAS                     )
 LINDENBERG,                                    )
                                                )
        Plaintiffs,                             )
                                                             No. 2:13-cv-02657-JPM-cgc
 v.                                             )
                                                )
 JACKSON NATIONAL LIFE                          )
 INSURANCE COMPANY,                             )
                                                )
        Defendant.                              )

                                          JUDGMENT

 JUDGMENT BY COURT. This action having come before the Court on Defendant’s Notice
 of Removal (ECF No. 1), filed August 23, 2013; the issues having been tried and the jury having
 rendered a verdict in favor of Plaintiffs in the amount of $350,000 in actual damages, $87,500 in
 bad faith damages, and $3,000,000 in punitive damages on December 22, 2014 (ECF Nos. 151-
 52); and the Tennessee Supreme Court having denied certification of two questions regarding the
 constitutionality of the Tennessee punitive damages caps by Order docketed in this cause on June
 27, 2016 (ECF No. 200),

 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
 the jury verdict for Plaintiffs (ECF No. 151) and the Court’s Order on Defendant’s Motion for
 Judgment as a Matter of Law as to Punitive Damages (ECF No. 210), Judgment is entered
 against Defendant, Jackson National Life Insurance Company and in favor of Plaintiffs Tamarin
 Lindenberg, Individually and as Natural Guardian of her minor child S.M.L., and Zachary
 Thomas Lindenberg, for actual damages in the amount of $350,000; 1 bad faith damages in the
 amount of $87,500; and punitive damages in the amount of $700,000; for a total amount of
 $1,137,500.2

 APPROVED:
                                                 /s/ Jon P. McCalla
                                                 JON P. McCALLA
                                                 U.S. DISTRICT COURT JUDGE

        1
           On May 19, 2014, the Court ordered Defendant to disburse life insurance policy
 benefits to Plaintiff Tamarin Lindenberg in the amount of $350,000. (ECF No. 32 at 17.)
 Defendant complied with the Order and disbursed payment to Ms. Lindenberg on the same day.
 (ECF No. 84-1 at PageID 560.) Therefore, that portion of the Judgment is satisfied.
         2
           The remaining balance on the Judgment is $787,500.
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                                       September 28, 2016
                                       Date
